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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

RICHARD COOEY, et al.,

               Plaintiff,

       v.                                             Case No. 2:04-cv-1156
                                                      JUDGE GREGORY L. FROST
TED STRICKLAND, et al.,                               Magistrate Judge Mark R. Abel

               Defendants.

                                    OPINION AND ORDER

       This matter is before the Court for consideration of Defendants’ Motion to Dismiss (Doc.

# 289), Plaintiff Jason Getsy’s memorandum in opposition (Doc. # 301), and Defendants’ reply

memorandum (Doc. # 327). For the reasons that follow, the Court finds the motion well taken.

       Getsy asserts claims under 42 U.S.C. § 1983 challenging multiple facets of the lethal

injection protocol by which the State of Ohio intends to execute him. Defendants move for

dismissal under Federal Rule of Civil Procedure 12(b)(6) on the ground that the Sixth Circuit’s

decision in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007), requires dismissal of the § 1983

claims asserted here. Before the Court can decide that issue, however, a discussion on whether

Getsy had standing to intervene in this action is necessary. Although no party has raised the

issue of whether Getsy had standing to intervene in this action, standing is jurisdictional and

courts may raise the matter sua sponte in order to ensure that they possess jurisdiction. See, e.g.,

City of Cleveland v. Ohio, 508 F.3d 827, 835 (6th Cir. 2007).

       A review of dates relevant to Getsy reveals that he was under a valid sentence of death at

the time he filed his motion to intervene in this action and at the time this Court granted his

motion and docketed his complaint. Getsy was sentenced to death on September 12, 1996. The
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United States Supreme Court denied his certiorari petition on June 24, 1999. Thereafter, after

filing an unsuccessful habeas action with the district court, Getsy obtained an August 2, 2006

court of appeals decision that stated that Getsy was entitled to habeas relief and would have

effectively vacated his death sentence. But no mandate ever issued on that decision, because the

case proceeded to an en banc panel of the Sixth Circuit that, on July 25, 2007, disagreed with the

panel that had sought to vacate Getsy’s death sentence.

        Prior to the en banc decision, Getsy filed a motion to intervene in this action on May 1,

2007, a time at which he effectively was still under a valid sentence of death, due to the fact that

absent a mandate, the appellate panel had not vacated his death sentence on August 2, 2006.

This Court granted Getsy’s motion to intervene and docketed his complaint on June 25, 2007.

(Doc. # 203.) Getsy had standing to pursue his § 1983 action because, unlike Plaintiff Jerome

Henderson who had obtained relief in the district court, there was never a decision in effect that

vacated his death sentence. Thus, unlike Henderson, there was never a decision of any effect

that would restart the statute of limitations.

        This leaves the issue of whether Getsy’s § 1983 filing was timely. Previously, this Court

issued an Opinion and Order in this litigation that discussed at length the Sixth Circuit’s

construction in Cooey of the statute of limitations for such § 1983 claims. (Doc. # 344.) The

Court adopts and incorporates herein the entirety of that decision and attaches it to the instant

decision for ease of reference.

        As this Court noted in that prior decision, Cooey teaches that § 1983 claims of the sort

asserted in this case begin to accrue upon conclusion of direct review in the state courts and

when a plaintiff knows or has reason to know about the act providing the basis of his or her


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injury. 479 F.3d at 422. Even in light of recent changes to the lethal injection protocol and the

United States Supreme Court’s issuance of Baze v. Rees, 128 S. Ct. 1520 (2008)–the latter of

which pre-dated issuance of the Cooey mandate–the court of appeals issued Cooey as binding

authority. This authority reasons that a plaintiff knew or had reason to know about the act

providing the basis of his or her injury when Ohio made lethal injection the exclusive method of

execution in December 2001. Cooey, 479 F.3d at 422. Consequently, review of the briefing and

the record indicates that the following dates are relevant to the statute of limitations issue:

       (1) Date of Getsy’s conviction and sentence: September 12, 1996.

       (2) Date the United States Supreme Court denied certiorari: June 24, 1999.

       (3) Date the Sixth Circuit has held inmates like Getsy should have been aware of their §

1983 lethal injection protocol claims: December 2001, at the latest.

       In light of the foregoing, this Court concludes that the rationale of Cooey applies to

Getsy’s § 1983 claims. The statute of limitations on these claims therefore expired, at the latest,

in December 2003. Getsy has raised no arguments to save his claims that the Court did not

previously consider and reject in its attached and incorporated Opinion and Order. Thus,

because Getsy’s assertion of his § 1983 claims is time-barred, the Court GRANTS Defendants’

Motion to Dismiss. (Doc. # 289.)

       IT IS SO ORDERED.
                                                            /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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